       Case 2:11-cr-00449-KJM Document 342 Filed 09/16/14 Page 1 of 3


 1

 2

 3

 4

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         No. 2:11-cr-449 KJM
12                      Plaintiff,
13          v.                                         ORDER
14   BRIAN JUSTIN PICKARD, et al.,
15                      Defendants.
16

17                  The court held a pre-evidentiary hearing in this matter on September 4, 2014. At

18   the hearing, the court discussed the pending motions in limine (ECF Nos. 329, 332, 333, 335), and

19   set a date for the evidentiary hearing.

20                  As to the pending motions in limine, the court rules as follows.

21                  Dr. Bertha Madras

22                  As to defendants’ motion to exclude certain parts of the testimony of the

23   government’s expert witness Dr. Bertha Madras (ECF No. 329), the court overrules defendants’

24   objections. Defendants’ motion is based on the Supreme Court case of Daubert v. Merrell Dow

25   Pharmaceuticals, Inc., 509 U.S. 579, 584 (1993). Because the Daubert analysis is especially

26   flexible when the finder of fact is a judge rather than a jury, and the gatekeeper and the gated

27   community are one and the same in such a case, the court finds defendants’ arguments about Dr.

28   Madras’s qualifications unpersuasive. See Gibbs v. Gibbs, 210 F.3d 491, 500 (5th Cir. 2000)
                                                      1
       Case 2:11-cr-00449-KJM Document 342 Filed 09/16/14 Page 2 of 3


 1   (“Most of the safeguards provided for in Daubert are not as essential in a case such as this where
 2   a district judge sits as the trier of fact in place of a jury.”). Based on the totality of Dr. Madras’s
 3   experience and knowledge, Dr. Madras is qualified to provide expert testimony on the topics for
 4   which the government has offered her testimony. As the court noted at the hearing, if defendants
 5   believe Dr. Madras exceeds the scope of her qualifications at any time during the evidentiary
 6   hearing, they may renew their objections then.
 7                   Christopher Conrad
 8                   As to the government’s motion to exclude the testimony of defendants’ expert
 9   witness Christopher Conrad (ECF No. 332), the court rules as follows. The court partially
10   overrules plaintiff’s objections to paragraphs 1 through 5 of Mr. Conrad’s declaration. (Id. at 5).
11   Specifically, paragraph 1 includes information about the chemistry and techniques for
12   reproducing the cannabis plant and its derivatives. Because Mr. Conrad is offered as an expert in
13   the cultivation techniques of cannabis for medicinal use, his testimony will be limited to such
14   matters only. The court also partially overrules plaintiff’s objections to paragraphs 8 through 9.
15   (Id.) Specifically, because the second sentence of paragraph 9 includes information about the
16   improved quality controls of medicinal cannabis and efforts to provide a medicine of uniform
17   quality, the court will allow this testimony to come in. The remaining portion of paragraph 9,
18   stating there is a reduced incentive for gangs to be involved in distributing cannabis, is excluded
19   as irrelevant. The court sustains plaintiff’s objections with respect to paragraphs 2 through 8, 10
20   and 11, and the first sentence of paragraph 9. (Id.) These portions of Mr. Conrad’s testimony
21   will be excluded because they are irrelevant to the limited scope of the evidentiary hearing or are
22   outside the scope of Mr. Conrad’s expertise.
23                   Sgt. Begin and Jennie Stormes
24                   As to the government’s motion to exclude the testimony of defendants’ witnesses
25   Sergeant Ryan D. Begin and Jennie Stormes (ECF No. 333), the court accepts their declaration
26   testimony as percipient witnesses about their use of marijuana for medicinal purposes. Sgt. Begin
27   is permitted to describe his injuries, the basis for the injuries for which he is seeking treatment,
28   and his experiences with different treatments for his injuries. He is also permitted to name the
                                                        2
       Case 2:11-cr-00449-KJM Document 342 Filed 09/16/14 Page 3 of 3


 1   diagnosis that his doctors gave him. Ms. Stormes’ testimony regarding the diagnosis doctors
 2   gave her son and her observations of her son’s symptoms and reactions to different treatments is
 3   accepted. Because the government will not cross examine either Sgt. Begin or Ms. Stormes, their
 4   declarations stand as their direct testimony; they will not appear at the hearing to testify.
 5                  Dr. James J. Nolan
 6                  As to the government’s motion to exclude Dr. James J. Nolan’s testimony (ECF
 7   No. 335), the court grants the government’s motion. Defendants’ filing stands as an offer of
 8   proof of Dr. Nolan’s proffered testimony.
 9                  Philip A. Denney, M.D., Carl L. Hart, Ph.D., Gregory T. Carter, M.D.
10                  The government has not challenged preliminarily the testimony of Drs. Philip A.
11   Denney (ECF No. 312), Carl L. Hart (ECF No. 313), and Gregory T. Carter (ECF No. 310).
12   Their declarations will stand as their direct testimony. Mr. Carter will be allowed to testify via
13   video monitor if necessary to accommodate his appearance. The hearing will proceed with these
14   witnesses’ cross-examinations and redirect.
15                  Hearing Date
16                  The court sets the evidentiary hearing for October 27, 2014 at 9:00 a.m. The
17   evidentiary hearing is estimated to last for three days. If the criminal trial scheduled for that week
18   is confirmed, the criminal trial will take precedence.
19                  IT IS SO ORDERED.
20   DATED: September 15, 2014.
21

22
                                                   UNITED STATES DISTRICT JUDGE
23

24

25

26

27

28
                                                       3
